                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                       
                                 July 16, 2015
                              No. 10-15-00180-CR
                        RON EASTON D/B/A ACE BAIL BONDS
                                      v.
                              THE STATE OF TEXAS
                                       
                                       
                             From the County Court
                            Freestone County, Texas
                             Trial Court No. 5526
                                       
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JUDGMENT

	Ron Easton d/b/a Ace Bail Bonds' Motion to Dismiss was considered by the Court.  The Court grants the motion.  It is the judgment of this Court that the appeal is dismissed.  
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
							PER CURIAM
						SHARRI ROESSLER, CLERK			

						By: ___________________________
							Nita Whitener, Deputy Clerk

